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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


LAWRENCE JOHN
JAKUBOWSKI,
                                       Civil Action No.: 18-11323
                Plaintiff,             Honorable Laurie J. Michelson
                                       Magistrate Judge Elizabeth A. Stafford
v.

DONALD HAIDERER, D.O.,

         Defendant.
__________________________/


      REPORT AND RECOMMENDATION TO SUA SPONTE DISMISS
      COMPLAINT FOR LACK OF SUBJECT MATTER JURISDICTION
                  OR TO GRANT DEFENDANT’S
          MOTION FOR SUMMARY JUDGMENT [ECF NO. 25]


     I.     Recommendation for Sua Sponte Dismissal

          Plaintiff Lawrence John Jakubowski, proceeding pro se, sued Donald

Haiderer, D.O., the inhouse Doctor of Optometry at the Gus Harrison

Correctional Facility, for alleged inadequate treatment of his cataracts

during his incarceration.1 [ECF No. 1]. As relief, Jakubowski asked the


1
 Jakubowski also named as defendants the Michigan Department of
Corrections and an unknown party, but the claims against them were
dismissed. [ECF No. 2]. The Honorable Laurie J. Michelson later referred
the case to the undersigned to resolve all pretrial matters under 28 U.S.C.
§ 636(b)(1). [ECF No. 21].
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Court only for this injunctive relief: to order Dr. Haiderer to obtain records

from his optical surgeon, to acknowledge that he has cataract disease, and

to send him to a qualified ophthalmologist. [Id. at PageID.10].

      In May 2020, Jakubowski filed a notice of change of address stating

that he had moved to Operation Get Down, Inc., in Detroit, Michigan. [ECF

No. 27]. Operation Get Down provides short-term housing for returning

citizens, among other services.2 In September 2020, the Court’s mailing to

Jakubowski at the Operation Get Down address was returned as

undeliverable; it appears that his stay there ended. [ECF No. 37].

      And Jakubowski reported in an August 2020 declaration that an

optometrist at a Macomb facility of the Michigan Department of Corrections

told him that untreated high blood pressure caused the damage in his eyes.

[ECF No. 36, PageID.224]. He said that the optometrist gave him a

prescription and sent him for testing. [Id.]. Jakubowski’s declaration says

nothing directly about his claim against Dr. Haiderer. [Id.]. It seems that he

received the medical attention he requested in his complaint.




2
 See http://www.operationgetdown.org/;
http://www.mhweb.org/wayne/getdown.html (last visited on February 22,
2021)

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      For these reasons, Jakubowski’s requests for relief are moot, and the

Court lacks subject matter jurisdiction. “Questions of jurisdiction are

fundamental matters” that a court should “review sua sponte.” Berger v.

Cuyahoga Cty. Bar Ass’n, 983 F.2d 718, 721 (6th Cir. 1993). And when

the requests for relief in an action become moot, the Court loses subject

matter jurisdiction. Carras v. Williams, 807 F.2d 1286, 1289 (6th Cir. 1986)

(“Mootness results when events occur during the pendency of a litigation

which render the court unable to grant the requested relief.”).

      Now that Jakubowski is not incarcerated at the Gus Harrison

Correctional Facility, his requests to have Dr. Haiderer better treat his

cataract disease are moot. See Creager v. Duchak, No. 1:17-CV-350,

2018 WL 2111208, at *2 (S.D. Ohio May 8, 2018), adopted, 2018 WL

2725432 (S.D. Ohio June 6, 2018) (“Because Plaintiff is no longer

incarcerated in either the Butler County Jail or the Miami County Jail, and

none of the Defendants are associated with the prison at which he

presently resides, his claims for injunctive relief are moot and this Court no

longer has subject matter jurisdiction over his claims.”). Thus,

Jakubowski’s complaint should be dismissed for lack of subject matter

jurisdiction.




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        If Jakubowski’s complaint is not dismissed for lack of subject matter

jurisdiction, Dr. Haiderer’s motion for summary judgment should be

granted.

  II.      Dr. Haiderer’s Motion for Summary Judgment

                                       A.

        In his complaint, Jakubowski said that he had started having a series

of eyes surgeries for cataracts, but this treatment was interrupted when he

went to prison. [ECF No. 1, PageID.4-5]. He alleged that he suffered

“great pain,” had headaches, and saw hazy shadows. [Id. at PageID.5-6].

Jakubowski complained that Dr. Haiderer falsely told him that he was cured

and needed only prescription glasses and eyedrops. [Id.].

        Dr. Haiderer argued in his motion for summary judgment that

Jakubowski failed to exhaust his administrative remedies and cannot show

that Dr. Haiderer was deliberately indifferent under the Eighth Amendment.

[ECF No. 25]. As noted, Jakubowski’s responsive declaration said nothing

about his claims against Dr. Haiderer. [ECF No. 36].

        “The Court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The party

seeking summary judgment bears the initial burden of informing the Court



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of the basis for its motion and must specify the portions of the record that

show the lack of a genuine dispute as to any material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). If the movant satisfies this burden, the

burden shifts to the non-moving party to go beyond the pleadings and set

forth specific facts showing a genuine issue for trial. Id. at 324. The Court

must view the factual evidence in the light most favorable to the non-

moving party. Scott v. Harris, 550 U.S. 372, 380 (2007). But “[t]he failure

to present any evidence to counter a well-supported motion for summary

judgment alone is grounds for granting the motion.” Everson v. Leis, 556

F.3d 484, 496 (6th Cir. 2009).

      The Prison Litigation Reform Act (PLRA) requires prisoners to

“properly” exhaust all “available” administrative remedies before filing a

lawsuit challenging prison conditions. 42 U.S.C. § 1997e(a); Woodford v.

Ngo, 548 U.S. 81, 88-90, 93 (2006). Granting summary judgment because

of a failure to exhaust administrative remedies is not on the merits and thus

requires dismissal without prejudice. Adams v. Smith, 166 F. App’x 201,

204 (6th Cir. 2006). And when a defendant has moved for summary

judgment, a court should ordinarily address the exhaustion issues before

assessing the merits of a claim. Taylor v. Corizon Med. Corp., No. 17-CV-




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12271, 2018 WL 5118592, at *5 (E.D. Mich. Aug. 8, 2018), adopted, 2018

WL 4292398 (E.D. Mich. Sept. 10, 2018).

      But a court may grant summary judgment of a meritless constitutional

claim without deciding the exhaustion issues. Bowen v. Cady, No. 09-

10414, 2010 WL 148843, at *3 n.2 (E.D. Mich. Jan. 13, 2010) (citing 42

U.S.C. § 1997e(c)(2)). Requiring exhaustion of fruitless constitutional

claims fails to promote the PLRA goals of “administrative and judicial

efficiency, and to show respect for the states by allowing” them to “correct

constitutional errors.” Id.; see also Taylor, 2018 WL 5118592 at *5. Here,

the Court finds that Jakubowski’s deliberate indifference claim is meritless

and that summary judgment of that claim should be granted.

                                      B.

      To succeed on a claim of deliberate indifference to a serious medical

need, a plaintiff must “prove that the alleged deprivation of medical care

was serious enough to violate the Eighth Amendment.” Rhinehart v. Scutt,

894 F.3d 721, 737 (6th Cir. 2018). The plaintiff must present enough

verifying medical evidence “for a factfinder to evaluate the adequacy of the

treatment provided and the severity of the harm caused by the allegedly

inadequate treatment.” Id. The plaintiff’s “desire for additional or different




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treatment does not by itself suffice to support [his] Eighth Amendment

claim.” Anthony v. Swanson, 701 F. App’x 460, 464 (6th Cir. 2017).

         In response to Dr. Haiderer’s motion for summary judgment,

Jakubowski provided no verifying medical evidence to show that he

received constitutionally inadequate treatment. [ECF No. 36]. His

responsive declaration did not even mention Dr. Haiderer. [Id.]. Because

Jakubowski’s presented no evidence to counter Dr. Haiderer’s motion for

summary judgment, the motion should be granted. Everson, 556 F.3d at

496.

  III.     Conclusion

         Jakubowski’s complaint should be DISMISSED FOR LACK OF

SUBJECT MATTER JURISDICTION. If it is not dismissed on that ground,

Dr. Haiderer’s motion for summary judgment [ECF No. 25] should be

GRANTED.

                                           s/Elizabeth A. Stafford
                                           ELIZABETH A. STAFFORD
                                           United States Magistrate Judge

Dated: February 24, 2021




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               NOTICE TO PARTIES ABOUT OBJECTIONS

      Within 14 days of being served with this report and recommendation,

any party may serve and file specific written objections to this Court’s

findings and recommendations. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

72(b)(2). If a party fails to timely file specific objections, any further appeal

is waived. Howard v. Secretary of HHS, 932 F.2d 505 (6th Cir. 1991). And

only the specific objections to this report and recommendation are

preserved for appeal; all other objections are waived. Willis v. Secretary of

HHS, 931 F.2d 390, 401 (6th Cir. 1991).

      Each objection must be labeled as “Objection #1,” “Objection #2,”

etc., and must specify precisely the provision of this report and

recommendation to which it pertains. Within 14 days after service of

objections, any non-objecting party must file a response to the

objections, specifically addressing each issue raised in the objections in the

same order and labeled as “Response to Objection #1,” “Response to

Objection #2,” etc. The response must be concise and proportionate in

length and complexity to the objections, but there is otherwise no page

limitation. If the Court determines that any objections are without merit, it

may rule without awaiting the response.




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                       CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on February 24, 2021.

                                         s/Marlena Williams
                                         MARLENA WILLIAMS
                                         Case Manager




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